24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 1 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 2 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 3 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 4 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 5 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 6 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 7 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 8 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
          Appraisal of Residiential Units and Penthouses Pg 9 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 10 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 11 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 12 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 13 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 14 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 15 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 16 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 17 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 18 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 19 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 20 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 21 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 22 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 23 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 24 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 25 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 26 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 27 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 28 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 29 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 30 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 31 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 32 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 33 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 34 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 35 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 36 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 37 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 38 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 39 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 40 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 41 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 42 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 43 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 44 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 45 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 46 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 47 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 48 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 49 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 50 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 51 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 52 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 53 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 54 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 55 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 56 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 57 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 58 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 59 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 60 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 61 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 62 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 63 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 64 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 65 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 66 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 67 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 68 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 69 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 70 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 71 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 72 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 73 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 74 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 75 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 76 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 77 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 78 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 79 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 80 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 81 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 82 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 83 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 84 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 85 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 86 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 87 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 88 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 89 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 90 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 91 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 92 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 93 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 94 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 95 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 96 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 97 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 98 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 99 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 100 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 101 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 102 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 103 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 104 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 105 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 106 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 107 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 108 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 109 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 110 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 111 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 112 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 113 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 114 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 115 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 116 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 117 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 118 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 119 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 120 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 121 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 122 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 123 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 124 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 125 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 126 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 127 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 128 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 129 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 130 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 131 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 132 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 133 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 134 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 135 of 136
24-11463-pb Doc 71-5 Filed 02/04/25 Entered 02/04/25 16:17:01 Exhibit D-2
         Appraisal of Residiential Units and Penthouses Pg 136 of 136
